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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 LISA MARIE MONTGOMERY,

              Plaintiff,
                                                            Civil Action No. 20-3261 (RDM)
         v.

 JEFFREY A. ROSEN et al.,

                  Defendants.


                                              ORDER

        Defendants seek a stay of the Court’s December 24, 2020 order granting partial summary

judgment in favor of Plaintiff on Count I of her supplemental complaint and vacating her January

12, 2021 execution date, Dkt. 47, and of the Court’s December 26, 2020 order entering partial

final judgment in Plaintiff’s favor, Dkt. 48. As Defendants correctly observe, that request for

preliminary relief is governed by the four-factor test set forth in Hilton v Braunskill, 481 U.S.

770, 776 (1987). Under the Hilton test, the Court must consider: “(1) whether the stay

applicant[s] ha[ve] made a strong showing that [they are] likely to succeed on the merits;

(2) whether the applicant[s] will be irreparably injured absent a stay; (3) whether issuance of the

stay will substantially injure the other parties interested in the proceeding; and (4) where the

public interest lies.” Id.

        With respect to the first factor, the Court has already concluded that Plaintiff’s claim to

relief under Count I of her supplemental complaint is meritorious. It follows that Defendants

have not made a showing that they are likely to succeed on the merits, much less the required

“strong showing” of a likelihood of success. Id.
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       With respect to the second factor, Defendants contend that Plaintiff “will not suffer

irreparable harm from the bare procedural violation she alleges.” Dkt. 51 at 2. That, however,

misunderstands the governing test, which does not turn on whether Plaintiff will suffer an

irreparable harm but on whether Defendants, as the parties seeking to stay the Court’s judgment,

will suffer such a harm absent extraordinary relief. Hilton, 481 U.S. at 776 (considering whether

the applicant for a stay will be irreparably harmed); see also Doe 1 v. Trump, No. 17-5267, 2017

WL 6553389, at *2 (D.C. Cir. Dec. 22, 2017) (per curiam) (discussing the stay applicants’

failure to demonstrate irreparable harm). Beyond arguing that Plaintiff will suffer no irreparable

harm, Defendants say nothing about the irreparable injury factor and thus fail to carry their

burden on this prong of the test.

       With respect to the third and fourth factors, Defendants contend that the failure to grant a

stay will cause substantial harm to the public and to the interests of justice. In support of that

contention, Defendants point to decisions from the Supreme Court recognizing that “the long

delays that now typically occur between the time an offender is sentenced to death and his

execution are excessive” and unjustified. Dkt. 51 at 3 (citing Bucklew v. Precythe, 139 S. Ct.

1112, 1134 (2019); Calderon v. Thompson, 523 U.S. 538, 556 (1998); Gomez v. U.S. Dist. Ct.

for N. Dist. of Cal., 503 U.S. 653, 654 (1992)). Here, however, the difference between

proceeding with the execution on January 12, 2021 and complying with the Court’s decision

would require only a short delay—a little over a week, if Defendants were to issue a notice on

December 31, 2020 resetting the execution for twenty days hence, as permitted by the Court’s

order.1 Nor is this a case in which Plaintiff has engaged in endless rounds of litigation; her first




1
 Although the presidential transition will take place partway through the first day when
Defendants would be able to reschedule Plaintiff’s execution, Defendants do not rely on this
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round of collateral review became final only earlier this year. Dkt. 12 at 10. Finally, the public

has a substantial interest in ensuring that the death penalty is carried out in accordance with the

law—the government must turn square corners even when, as here, the rule at issue is a

procedural one.

       For the foregoing reasons, the Court concludes that Defendants have failed to carry their

burden under Hilton and, accordingly, DENIES their motion for a stay of the Court’s order and

judgment.

       SO ORDERED.

                                                      /s/ Randolph D. Moss
                                                      RANDOLPH D. MOSS
                                                      United States District Judge


Date: December 28, 2020




fact—and rightfully so, as possible changes that might come with a presidential transition are not
a matter for the courts.
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